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                       UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 MICHAEL DAVIS,

                          Plaintiff,

 v.

 STATEVILLE PRISON GUARD WESAM S.                                No. 17-cv-3654
 ALI, ILLINOIS DEPARTMENT OF
 CORRECTIONS (IDOC), NURSE "MARY",
 and WEXFORD HEALTH SOURCES, INC,

                          Defendant.



                                       MOTION TO REINSTATE

         Now Comes Michael Davis by and through his Attorney Melinda Power of West Town
Law Office and moves to reinstate this matter on the following grounds:


      1. On March 6, 2002, pursuant to a settlement between the parties, this Court dismissed this
         matter without prejudice with leave to reinstate by May 6, 2020. Dkt. 71.
      2. The Plaintiff has not yet received the settlement.
      3. Plaintiff’s attorney has contacted the Defendants’ attorney, however, due, no doubt to the
         COVID-19 pandemic, the parties have not made contact.
      4. Plaintiff expects that he will receive his settlement payment, but does not anticipate that
         that payment will be received by May 6, 2002.


      WHEREFORE, Plaintiff requests that this matter not be dismissed with prejudice on May 6,
      2020, but, rather, that the dismissal without prejudice be extended for six months, until
      November 6, 2020.




Respectfully submitted,
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                                     /s/Melinda Power

                                     Plaintiff’s attorney



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